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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

TRINITY BIAS and JAIME CARDENAS, on

behalf of themselves and all similarly situated Civil Action No. 3:22cv483
persons

Plaintiffs,
v.

ELEPHANT INSURANCE COMPANY, et al.,
Defendants.

CHRISTOPHER HOLMES, on behalf
of himself and all similarly situated persons, Civil Action No. 3:22¢v487

Plaintiffs,
v.

ELEPHANT INSURANCE COMPANY, et al.,

Defendants.

ORDER

This matter comes before the Court on the parties’ joint motions for consolidation of
related actions. (Case No. 3:22cv487, ECF No. 7; Case No. 3:22cv483, ECF No. 11.) The
plaintiffs, in identical memoranda in support of their motions, assert that “[bJoth cases arise out
of the Elephant Data Breach, allege similar facts, and bring claims for violation of the Drivers’
Privacy Protection Act ..., negligence, and negligence per se.” (Case No. 3:22cv487, ECF No.
8, at 3; Case No. 3:22cv483, ECF No. 12, at 3.)

Federal Rule of Civil Procedure 42(a) provides: “If actions before the court involve a
common question or law or fact, the court may . . . consolidate the actions.” Fed. R. Civ. P.

42(a), (a)(2). District courts have broad discretion under Rule 42 to consolidate cases pending in
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the same district. R.M.S. Titanic, Inc. vy. Haver, 171 F.3d 943, 959 (4th Cir. 1999). In exercising
this discretion, courts weigh “‘the specific risks of prejudice and possible confusion’ from

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consolidation” against the “‘risk of inconsistent adjudications . . . , the burden on parties,

witnesses, and available judicial resources posed by multiple lawsuits, the length of time
required to conclude multiple suits as against a single one, and the relative expense... .””
Campbell v. Bos. Sci. Corp., 882 F.3d 70, 74 (4th Cir. 2018) (first omission in original) (quoting
Arnold v. E. Air Lines, Inc., 681 F.2d 186, 193 (4th Cir. 1982)).

Here, the Court finds that all factors favor consolidation and that consolidation presents
no risk of prejudice or confusion. The Court hereby CONSOLIDATES Trinity Bias et al. v.
Elephant Insurance Company et al. (Case No. 3:22cv483) and Christopher Holmes v. Elephant
Insurance Company et al. (Case No. 3:21cv487), with the lead case being Case No. 3:21cv487.
Hereafter, any filings should only be filed in the lead case (the “Consolidated Action”). All
documents filed to date in each of the consolidated cases are deemed a part of the record in the
Consolidated Action. The Court DIRECTS the plaintiffs to file a Consolidated Class Action
Complaint in the Consolidated Action. The Court will ADJOURN all deadlines for filing
answers or responsive pleadings by the defendants until the plaintiffs have filed a Consolidated
Class Action Complaint.

It is so ORDERED.

The Clerk is directed to provide a copy to all counsel of record.

Date: 2‘T August 2022 /s/ oe. |
Richmond, VA John A. Gibney, J ie +
Senior United Stat istrict Judge

